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                 IN THE UNITED STATES DISTRICT COURT
                     FOR THE DISTRICT OF COLUMBIA


UNITED STATES OF AMERICA, et al.,

                   Plaintiffs,

v.
                                            Case No. 1:20-cv-03010-APM
GOOGLE LLC,
                                            HON. AMIT P. MEHTA
                   Defendant,

      and

APPLE INC.,

                   Amicus Curiae.


STATE OF COLORADO, et al.,

                   Plaintiffs,

v.                                          Case No. 1:20-cv-03715-APM

                                            HON. AMIT P. MEHTA
GOOGLE LLC,

                   Defendant,

      and

APPLE INC.,

                   Amicus Curiae.


              APPLE INC.’S MOTION FOR EXTENSION OF TIME
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        Apple respectfully moves for an extension of time within which to file its amicus brief, up

to and including Monday, May 12, 2025.

        Plaintiffs stated earlier today that they intend to present a rebuttal case on Friday, May 9,

2025, the same day that Apple must file its amicus brief. Dkt. No. 1201 at 2. Plaintiffs further

stated that they intend to call Dr. Tasneem Chipty as a rebuttal witness. This Court approved

Plaintiffs’ presentation of a rebuttal case. Dr. Chipty has already testified extensively to issues

concerning Apple, including its incentives to enter the market for general search services. Dr.

Chipty may supplement or extend that testimony during Plaintiffs’ rebuttal case, and Plaintiffs

may also present other testimony relevant to Apple. If Apple is required to file its amicus brief on

May 9, it will not have a meaningful opportunity to review the testimony presented as part of

Plaintiffs’ rebuttal case and to respond to evidence affecting Apple’s substantial interests at stake

in this litigation.

        In order to submit a brief that is of greatest assistance to the Court, Apple would appreciate

the opportunity to file its amicus brief no later than Monday, May 12, 2025. This short extension

of time will allow Apple to review, assess, and respond to any evidence introduced on May 9 that

implicates Apple. Apple contacted counsel for Plaintiffs and for Google regarding this motion:

Plaintiffs stated they oppose Apple’s request but did not disavow that Dr. Chipty may present

testimony implicating Apple’s interests, and Google stated that it takes no position on this request.

Apple appreciates the Court’s consideration of this motion.

Dated: May 7, 2025

                                                   LATHAM & WATKINS LLP



                                                   By s/ Sarah M. Ray
                                                      Alfred C. Pfeiffer, Jr. (pro hac vice)
                                                      Sarah M. Ray (pro hac vice)


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